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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                6/20/2024
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :       22-cr-138 (LJL)
                                                                       :
NEIL PHILLIPS,                                                         :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        Sentencing in this case is scheduled for Tuesday, June 25, 2024. The Court hereby gives
notice that (as foreshadowed in the prior conference and in the submissions of both parties) the
Court is considering granting a downward variance from the Guidelines in this case. The Court
is further considering imposing a fine in this case. The parties should be prepared to address
both issues. Finally, with respect to the terms of supervised release which the Court currently
intends to impose, the Court intends to impose a special condition that—notwithstanding the
standard condition that the defendant be supervised by the district of residence—Mr. Phillips be
permitted to reside abroad, including in his current residence. The parties are directed to meet
and confer in advance of sentencing to discuss the residences in which Mr. Phillips should be
permitted to reside during his period of supervised release.


        SO ORDERED.


Dated: June 20, 2024                                       __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
